Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 1 of 89 PageID #: 1818




        EXHIBIT G
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 2 of 89 PageID #: 1819




           UNITED STATES PATENT AND TRADEMARK OFFICE



            BEFORE THE PATENT TRIAL AND APPEAL BOARD




       Samsung Electronics Co., Ltd and Samsung Electronics America, Inc.,
                                   Petitioners

                                       v.

                              Dareltech, LLC, Inc.,
                                 Patent Owner



                              Case IPR2019-01529

                            U.S. Patent No. 8,593,427



                       Petition for Inter Partes Review of
                            U.S. Patent No. 8,593,427
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 3 of 89 PageID #: 1820

                                                                                           IPR2019-01529
                                                                                 U.S. Patent No. 8,593,427



                                            Table of Contents


 I.     INTRODUCTION ...........................................................................................1

 II.    GROUNDS FOR STANDING (37 C.F.R. § 42.104(a)) .................................1

 III.   STATEMENT OF PRECISE RELIEF REQUESTED FOR EACH CLAIM
        CHALLENGED ..............................................................................................1

        A.      Claims and Statutory Grounds (37 C.F.R. § 42.104(b)) .......................1

 IV.    Overview of the ’427 Patent ............................................................................2

        A.      Summary ...............................................................................................2

        B.      Prosecution History ...............................................................................5

        C.      Level of Ordinary Skill in the Art .........................................................6

        D.      Claim Construction................................................................................6

                1.       “Mathematically Upscaling”.......................................................7

                2.       “Graphical Content Data Structure” ...........................................7

        E.      The Board Should Institute Review ......................................................8

 V.     THE CHALLENGED CLAIMS ARE UNPATENTABLE ............................8

        A.      Yang Overview ......................................................................................8

        B.      Law Overview .....................................................................................14

        C.      Ignatchenko Overview ........................................................................15

        D.      Grounds 1A: The Combination of Yang and Law Discloses All
                Elements Of The Challenged Claims ..................................................16


                                                          i
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 4 of 89 PageID #: 1821

                                                                                    IPR2019-01529
                                                                          U.S. Patent No. 8,593,427

            1.    Claim 1 ......................................................................................16

                  [1p] “A method, comprising” .................................................16

                  [1a] “displaying first information in an available display area
                       comprising a first portion of a display screen and
                       associated sensors in a configuration having a plurality of
                       portions, comprising” .....................................................16

                  [1b] “the first portion of the display screen and associated
                       sensors, which is configured in a powered-on state to
                       perform display functions and receive user input, and” .21

                  [1c] “a second portion of the display screen and associated
                       sensors, which is configured in a powered-off state and
                       incapable of receiving user input;” .................................24

                           (i)       The Rationale for Combining Yang and Law.......30

                  [1d] “responsive to a user indication in the in the first portion,
                       adding the second portion to the available display area by
                       transitioning the second portion to the powered-on state to
                       perform display functions and receive user input;”........33

                  [1e] “displaying second information in the second portion;” 41

                  [1f]     “generating the second information by mathematically
                           upscaling the first information,” .....................................42

                  [1g] “wherein the second information comprises a portion of
                       the first information upscaled for display in both the
                       second portion and the first portion; and” ......................44

                  [1h] “displaying third information in the first portion, wherein
                       the third information comprises a portion of the first
                       information upscaled for display in both the second
                       portion and the first portion.” .........................................47

            2.    Claim 2 ......................................................................................50


                                                  ii
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 5 of 89 PageID #: 1822

                                                                                    IPR2019-01529
                                                                          U.S. Patent No. 8,593,427

                  [2a] “The method of claim 1, further comprising: receiving a
                       graphical content data structure comprising content for
                       display in the available display area; and” .....................50

                  [2b] “selecting elements of the graphical content data structure
                       for display in the available display area based at least in
                       part on whether the second portion is in a powered-on
                       state.” ..............................................................................54

            3.    Claim 3 ......................................................................................59

                  [3a] “The method of claim 1, further comprising: receiving a
                       graphical content data structure comprising content for
                       display in the available display area; and” .....................59

                  [3b] “scaling elements of the graphical content data structure
                       for display in the available display area based at least in
                       part on a dimension of the available display area.” ........59

            4.    Claim 4 ......................................................................................62

                  [4a] “The method of claim 1, further comprising: receiving a
                       graphical content data structure comprising content for
                       display in the available display area; and” .....................62

                  [4b] “scaling elements of the graphical content data structure
                       for display in the available display area based at least in
                       part on whether the second portion is in a powered-on
                       state.” ..............................................................................62

            5.    Claim 5 ......................................................................................64

                  [5a] “The method of claim 1, further comprising: receiving a
                       graphical content data structure comprising content for
                       display in the available display area; and” .....................64

                  [5b] “adjusting a position relative to a background element of
                       a foreground content element of the graphical content data
                       structure for display in the available display area based at


                                                  iii
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 6 of 89 PageID #: 1823

                                                                                    IPR2019-01529
                                                                          U.S. Patent No. 8,593,427

                           least in part on whether the second portion is in a powered-
                           on state.” .........................................................................64

            6.    Claim 6 ......................................................................................66

                  [6a] “The method of claim 1, further comprising: receiving a
                       graphical content data structure comprising content for
                       display in the available display area; and” .....................66

                  [6b] “selecting elements of the graphical content data structure
                       for display in the available display area based at least in
                       part on a dimension of the available display area.” ........67

            7.    Claim 7 ......................................................................................69

                  [7p] “A multifunction device, comprising:” ..........................69

                  [7a] “one or more processors;” ..............................................69

                  [7b] “a display screen and associated sensors; and” ..............69

                  [7c] “one or more memories storing program instructions
                       executable on the one or more processors to perform:” .70

                  [7d] “displaying first information in an available display area
                       comprising a first portion of the display screen in a
                       configuration having a plurality of portions, comprising”
                        ........................................................................................70

                  [7e] “the first portion of the display screen and associated
                       sensors, which is configured in a powered-on state to
                       perform display functions and receive user input, and” .70

                  [7f]     “a second portion of the display screen and associated
                           sensors, which is configured in a powered-off state and
                           incapable of receiving user input;” .................................70

                  [7g] “responsive to a user indication in the in the first portion,
                       adding the second portion to the available display area by
                       transitioning the second portion to the powered-on state to
                       perform display functions and receive user input;”........70
                                       iv
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 7 of 89 PageID #: 1824

                                                                                       IPR2019-01529
                                                                             U.S. Patent No. 8,593,427

                      [7h] “displaying second information in the second portion;” 71

                      [7i]     “program instructions executable on the one or more
                               processors to perform generating the second information
                               by mathematically upscaling the first information,” ......71

                      [7j]     “wherein the second information comprises a portion of
                               the first information upscaled for display in both the
                               second portion and the first portion; and” ......................71

                      [7k] “program instructions executable on the one or more
                           processors to perform displaying third information in the
                           first portion, wherein the third information comprises a
                           portion of the first information upscaled for display in both
                           the second portion and the first portion” ........................71

             8.       Claims 8-12 ...............................................................................72

             9.       Claims 13-17 .............................................................................72

       E.    Grounds 1B: The Combination of Yang, Law, and Ignatchenko
             Discloses All Elements Of The Challenged Claims ...........................73

 VI.   MANDATORY NOTICES UNDER 37 C.F.R. § 42.8 .................................76

       A.    Real Party-in-Interest ..........................................................................76

       B.    Related Matters....................................................................................76

       C.    Lead and Backup Counsel ...................................................................77

       D.    Service Information .............................................................................77




                                                     v
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 8 of 89 PageID #: 1825

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

                              TABLE OF EXHIBITS

  Exhibit                                 Description
   1001     U.S. Patent No. 8,593,427 to Yang et al. (“the ’427 patent”)

   1002     Yang, U.S. Patent Pub. No. 2014/0189583

   1003     Law, U.S. Patent Pub. 2013/0265243

   1004     Ignatchenko, U.S. Patent No. 7,778,492

   1005     Prosecution History of U.S. App. Ser. No. 13/905,064

   1006     PCT Application No. PCT/CN2012/087795

   1007     LaPlante, Comprehensive Dictionary of Electrical Engineering, 2nd Ed.,
            CRC Press, 2005, p. 607

   1008     Microsoft Computer Dictionary, Fifth Ed., 2002, pp. 61, 198.

   1009     Merriam-Webster’s Collegiate Dictionary, Eleventh Ed., 2009, p. 316,
            351

   1010     Declaration of Andrew Wolfe, Ph.D.

   1011     U.S. Patent No. 4,972,496 to Sklarew

   1012     O’Malley, BellSouth’s communicative Simon is a milestone in the
            evolution of the PDA, Byte
   1013     Ha, Bellsouth IBM Simon, Time Magazine, Oct. 25, 2010

   1014     Ha, Palm Pilot 1000, Time Magazine, Oct. 25, 2010

   1015     Newton Apple MessagePad Handbook, © 1995

   1016     Macworld, September 1993 (cover)

   1017     U.S. Patent Pub. No. 2013/0316769 to Kim

   1018     U.S. Patent No. 9,360,967 to Hotelling

   1019     U.S. Patent No. 8,203,541 to Wolfe

                                          vi
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 9 of 89 PageID #: 1826

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

  Exhibit                                 Description
   1020     U.S. Patent No. 8,243,045 to Mangione-Smith

   1021     U.S. Patent No. 5,825,352 to Bisset

   1022     U.S. Patent No. 7,844,915 to Platzer

   1023     Linus Write-Top Computer, printout from
            http://oldcomputers.net/linus.html [last visited 7/11/2019 2:32:15 PM]




                                         vii
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 10 of 89 PageID #: 1827

                                                                                               IPR2019-01529
                                                                                     U.S. Patent No. 8,593,427

                                       TABLE OF AUTHORITIES

 Cases

 Aug. Tech. Corp. v. Camtek, Ltd., 655 F.3d 1278 (Fed. Cir. 2011) ........................20

 DyStar Textilfarben GmbH & Co. Deutschland KG v. C.H. Patrick Co., 464 F.3d
   1356 (Fed. Cir. 2006) ...........................................................................................33

 In re GPAC Inc., 57 F.3d 1573 (Fed. Cir. 1995) .......................................................6

 KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398 (2007) ................................................32

 Realtime Data, LLC v. Iancu, 912 F.3d 1368 (Fed. Cir. Jan. 10, 2019)..................30

 Statutes

 35 U.S.C. § 102(a)(1) ...............................................................................................15

 35 U.S.C. § 102(a)(2) ...................................................................................... 2, 8, 14

 35 U.S.C. § 103 ..........................................................................................................2

 Other Authorities

 83 Fed. Reg. 51, 340-59 (Oct. 11, 2018) ...................................................................6

 Rules

 37 C.F.R. § 42.104(a).................................................................................................1

 37 C.F.R. § 42.104(b) ................................................................................................1

 37 C.F.R. § 42.8 .......................................................................................................76




                                                            viii
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 11 of 89 PageID #: 1828

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 I.     INTRODUCTION

        Petitioners Samsung Electronics Co., Ltd. and Samsung Electronics America,

 Inc. (“Samsung”) request inter partes review of claims 1-17 of U.S. Patent No.

 8,593,427 (“the ’427 patent”).

 II.    GROUNDS FOR STANDING (37 C.F.R. § 42.104(a))

        Samsung certifies that the ’427 patent is available for inter partes review, and

 that Samsung is not barred or estopped from requesting inter partes review to

 challenge the claims on the grounds herein. Samsung filed this Petition within one

 year of service of Patent Owner’s (“Dareltech”) original complaint against Samsung

 in district court. See Dareltech, LLC v. Samsung Elecs Co., Ltd., et al., Case No.

 4:18-cv-00702 (E.D.T.X. filed 10/4/2018) (Served 10/31/2018).

 III.   STATEMENT OF PRECISE RELIEF REQUESTED FOR EACH
        CLAIM CHALLENGED

        A.    Claims and Statutory Grounds (37 C.F.R. § 42.104(b))

        Samsung requests review and cancellation under 35 U.S.C. § 311 of claims 1-

 17 in view of:




                                            1
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 12 of 89 PageID #: 1829

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427


                                      Prior Art

   Yang, U.S. Patent Pub. No. 2014/0189583 (Ex. 1002); effective filing date
   12/28/2012; prior art under AIA 35 U.S.C. § 102(a)(2).

   Law, U.S. Patent Pub. 2013/0265243 (Ex. 1003); effective filing date 4/10/2012;
   prior art under AIA 35 U.S.C. § 102(a)(2).

   Ignatchenko, U.S. Patent No. 7,778,492 (Ex. 1004)



                           Grounds of Unpatentability

   1A        Yang in view of Law renders obvious claims 1-17 under 35 U.S.C. §
             103.

   1B        Yang in view of Law and Ignatchenko renders obvious claims 1-17
             under 35 U.S.C. § 103.


 IV.    Overview of the ’427 Patent

        A.    Summary

        The ’427 patent is directed to a system for reducing power consumption in

 portable, battery-powered, electronic devices such as mobile phones. ’427 patent,

 Abstract. The patent is specifically directed to managing power consumption in the

 display systems used by such portable devices. Id., 1:24-26.

        The embodiments of the ’427 patent have a touchscreen display (e.g., touch

 sensitive display system 112, shown in Fig. 1) that is controlled by a display
                                         2
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 13 of 89 PageID #: 1830

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 controller (e.g., display controller 156 shown in Fig. 1). Id., 9:6-9. The touchscreen

 displays used in the ’427 patent’s embodiments have touch-sensitive sensors, which

 are used to detect contact on the display screen. Id., 9:14-24 (“Touch screen 112

 has a touch-sensitive surface, sensor or set of sensors that accepts input from the

 user based on haptic and/or tactile contact.”).1

         Various ways of displaying information on the touchscreen display of the

 portable device are described. Fig. 7 is one example:




 1
     Unless otherwise stated, Samsung has added all emphasis to quotes.
                                            3
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 14 of 89 PageID #: 1831

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 In the Fig. 7 embodiment, display screen 705 is divided into two different portions:

 first portion 715 and second portion 720. Id., 17:44-49. First information is

 displayed in the first portion 715 (id., 17:44-47), whereas second portion 720 “is

 configured in a powered-off state.” Id., 17:57-58.

       The ’427 patent states that powering-off a portion of the display screen, e.g.,

 second portion 720, provides “numerous” benefits, which include increased battery

 life and the ability to use the unused screen portion as a grip so a user can securely

 hold the device. Id., 5:3-9.

       The touchscreen display described in the ’427 patent can transition from a

 state like that shown in Fig. 7 (and others), in which second portion 720 is in a

 powered-off state, to a state in which second portion 720 becomes active, thus

 displaying information and being responsive to user input. This transition takes

 place in response to a “user indication” in the first portion of the screen. Id.,

 Abstract.

       Thus, in response to a user indication in the first portion of the touchscreen

 display, the second portion of the touchscreen display transitions to a “powered-on

 state” so that it can “perform display functions and receive user input.” Id. See also

 Wolfe, ¶¶49-54.




                                           4
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 15 of 89 PageID #: 1832

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

          B.    Prosecution History

          The ’427 patent was filed on May 29, 2013, which is its effective filing date.2

 On 10/5/2013, the Examiner issued an Office Action rejecting all claims as obvious

 under prior art not at issue in this petition. On 9/23/2013, an Examiner-initiated

 interview took place, during which Applicant proposed amending the independent

 claims to recite turning off touch detection sensors of the display screen which are

 incapable of receiving user input in the second portion of the display screen. Ex.

 1005 at 36 (Interview Summary). The Interview Summary also indicated that

 incorporating the subject matter of dependent claims 2, 8 and 15 [sic: 16] into the

 independent claims would result in allowance.

          On 10/4/2013, a Notice of Allowance issued with an Examiner’s Amendment

 incorporating the claim amendments from the Interview Summary. Id., 27-30.

 Thus, an element of claim 1 was amended as follows:

                a second portion of the display screen and associated
                sensors, which is configured in a powered-off state and
                incapable of receiving user input;




 2
     The ’427 patent purports to claim the benefit of two provisional applications.
 Whether the provisional applications support the challenged claims is not relevant
 since the prior art predates both provisionals.
                                             5
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 16 of 89 PageID #: 1833

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 Id., 27 (emphasis in original). Likewise, the elements labeled below as [1f]-[1h]

 from dependent claim 2 were added to claim 1. Id., 28. Similar amendments were

 made to the other independent claims. Id., 27-30.3

         C.     Level of Ordinary Skill in the Art

         For the purposes of this petition,, a person of ordinary skill in the art at the

 time of the alleged invention of the ’427 patent (“POSITA”) would have a 4-year

 degree in Electrical Engineering, Computer Engineering, or Computer Science and

 one year of experience in user interface software or system design. A POSITA could

 have also obtained similar knowledge and experience through other means. In re

 GPAC Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995).Wolfe, ¶59.

         D.     Claim Construction

         In this proceeding, the claim terms should be given their plain and ordinary

 meaning as understood by one of ordinary skill in the art, consistent with the

 disclosure and the prosecution history. 83 Fed. Reg. 51, 340-59 (Oct. 11, 2018). In

 addition to the below terms, Samsung addresses the meaning of other claim language

 while comparing the claims to the prior art so that such language can be discussed

 in context.


 3
     The ’427 patent provides no examples illustrating what is meant by these added
 claim elements. For example, none of the ’427 patent’s figures illustrate the
 recited “third information.”
                                             6
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 17 of 89 PageID #: 1834

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

              1.    “Mathematically Upscaling”

       Samsung submits that the term “mathematically upscaling,” which appears in

 claims 1, 7 and 13, means “using mathematical techniques to make a displayed

 image larger,” which is its ordinary meaning. The specification provides no special

 definition for this term and uses the term with its ordinary meaning provided herein.

 For example, at 22:63-67, the ’427 patent teaches “second information” is generated

 “by mathematically upscaling the first information.”       No special definition is

 provided and no mathematical algorithms or techniques are disclosed for performing

 the recited “mathematical upscaling” in this portion of the specification or anywhere

 else. Wolfe, ¶61

       In the context of the patent’s specification, a POSITA would understand that

 the term “scale” means “to change the size (i.e., enlarge or shrink) of an image or

 object…” Ex. 1007, p. 607. Further, based on the prefix “up,” a POSITA would

 recognize that the claim term “mathematically upscaling” refers to enlarging images

 or objects. Wolfe, ¶62. Thus, Samsung’s construction comports with its ordinary

 meaning. Id.

              2.     “Graphical Content Data Structure”

       Samsung submits that the term “graphical content data structure,” which

 appears in claims 2-6, 8-12 and 14-17, means “an organized collection of graphics

 data,” which is its ordinary meaning. Samsung first notes that data structures are

                                          7
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 18 of 89 PageID #: 1835

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 well known in the art, and are “any of various methods or formats (as an array, file,

 or record) for organizing data in a computer.” Ex. 1009, p. 316. As for the entire

 phrase, the specification provides no specific definition, but instead, relying on the

 term’s ordinary meaning, broadly states that a “graphical content data structure”

 comprises “content for display in the available display area.” ’427 patent, 17:60-67.

 Thus, the recited “graphical content” is any graphics data (i.e., content) that can be

 displayed, and which is organized in a data structure. The term’s ordinary meaning

 is therefore “an organized collection of graphics data.” Wolfe, ¶64.

       E.       The Board Should Institute Review

       No reference in this Petition was before the Examiner during prosecution of

 the ’427 patent. Likewise, no previous petitions for inter partes review have been

 filed regarding the ’427 patent. As detailed below, claims 1-17 of the ’427 patent

 are invalid.

 V.    THE CHALLENGED CLAIMS ARE UNPATENTABLE

       A.       Yang Overview

       Yang was filed in the United States on 10/25/2013 and claimed priority to PCT

 Application No. PCT/CN2012/087795 (Ex. 1006), filed on 12/28/2012 designating

 the United States. Yang therefore has an effective filing date of December 28, 2012.

 See 35 U.S.C. § 102(d). Thus, Yang is prior art under 35 U.S.C. § 102(a)(2).




                                           8
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 19 of 89 PageID #: 1836

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

          Yang discloses a portable electronic device such as a mobile phone. See Yang,

 Abstract; ¶19 (“Referring to FIG. 1A, shown is a portable electronic device (PED)

 100 having a display 102. The PED 100 can be any type of portable electronic device

 such as a mobile telephone (e.g., smartphone), a tablet computer...”). Each of Yang’s

 embodiments include a touchscreen display that uses one or more touch sensors. Id.

 The touchscreen display is controlled by one or more controllers. Id., ¶¶27, 30.

          Yang recognized that the “display of a portable electronic device is another

 feature that is a big consumer of battery charge.” See id., ¶19. To reduce the amount

 of power consumed by such display screens, Yang teaches that such devices “may

 conserve power while in a normal operating mode by switching from an original

 screen mode to an adjusted screen mode. While in adjusted screen mode, the device

 display may include an adjustable displaying area and an inactive area.” Id., ¶18.

 Yang teaches that “the inactive area may fill the portion of the display screen that is

 not being used to display the extract4 of the user interface in the adjustable displaying

 area,” and further notes that the “inactive area may use less power than an active

 area such as the adjustable displaying area or a full-size display screen.” Id.




 4
     Note that in Yang, the information displayed in the reduced-size displaying area is
 often referred to as an “extract.”
                                             9
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 20 of 89 PageID #: 1837

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

       Yang teaches that when in the adjusted screen mode (often abbreviated therein

 as “ASM”), the screen and the touch sensors making up the inactive portion of the

 display screen are turned off. For example, Yang teaches that the portion of the

 display screen that is inactive “may be turned off, at rest, or otherwise not available

 for active use,” depending on the screen technology in use (e.g., OLED or LCD).

 Id., ¶23. Likewise, Yang teaches that the inactive area turns the touch sensors in the

 display screen off because it discloses that “inactive area 112 may be disabled or

 non-responsive to display 102 operations.” Id., ¶53. Yang also teaches that “if the

 user tries to input a touch command in inactive area 112, PED 100 may not

 respond.” Id. A POSITA would recognize that devices having this functionality

 will have reduced power consumption. Wolfe, ¶68.

       Yang describes various examples of its original screen mode (often

 abbreviated therein as “OSM”) and its adjusted screen mode. Fig. 1A shows a

 portable device in OSM:




                                           10
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 21 of 89 PageID #: 1838

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427




 Fig. 1 shows a portable electronic device 100 having a display 100. Yang teaches

 that the display can use various technologies, including liquid crystal display (LCD)

 or organic light emitting diode (OLED) technology. Yang, ¶19. A POSITA would

 have known OLED technology is an emissive technology that requires no

 backlighting. Thus, in displays using OLED technology, each pixel generates its

 own light output within the available color spectrum. A POSITA would have also

 known that each individual pixel can be disabled, i.e., turned off, such that the

 disabled pixels generate no light at all. Thus, a POSITA would have known that

                                          11
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 22 of 89 PageID #: 1839

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 disabled pixels in an OLED display consume what is in practical terms no power at

 all. Wolfe, ¶70.

       Yang teaches that when in OSM as illustrated in Fig. 1A, the touchscreen

 display 102 can have information displayed that occupies all or most of the available

 screen area 104a. Yang, ¶20. When in OSM, various different graphical content can

 be displayed as well as background image content such as wallpaper:

              As shown in FIG. 1A, an original interface such as a home
              screen can be displayed in the displaying area 104a. The
              original interface shown in FIG. 1A includes a clock
              area 106 and images 108a, 108b, 108c, and 108d. Each
              image 108a, 108b, 108c, and 108d may be one of text or
              a graphic such as, without limitation, an icon, a tile, a
              button, a menu item, and a photograph. . . The original
              interface may also include a background such as wallpaper
              (not shown) as is known in the art.
 Id.

       Yang further teaches various embodiments of ASM, in which a first portion

 of display screen 102 remains active while a second portion of display screen 102 is

 powered-off and does not respond to user input. One such example of Yang’s

 portable device operating in ASM is shown in Fig. 1C:




                                          12
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 23 of 89 PageID #: 1840

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427




 In the Fig. 1C embodiment, the entirety of the originally displayed information is

 reduced to a reduced-size displaying area 104c. As will be discussed in detail below,

 Yang teaches transitioning from the embodiment shown in Fig. 1C to the

 embodiment shown in Fig. 1A, and vice-versa. As will be further discussed below,

 these teachings in Yang, especially when combined with the teachings of Law

 (discussed below) teach all the claim limitations of the challenged claims.

       In sum, Yang discloses a device having the same purpose as the ’427 patent

 (a mobile device that uses less power to extend battery life) and does so using the

                                          13
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 24 of 89 PageID #: 1841

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 very same features claimed in the ’427 patent (disabling portions of the display

 screen).

       B.     Law Overview

       Law was filed on 4/10/2012, which is also its effective filing date, and is thus

 prior art under 35 U.S.C. § 102(a)(2). Law describes a touchscreen display that

 controls the amount of power it consumes by powering down subsets of its touch

 sensors. See, e.g., Law at Abstract; ¶1. Law states that touchscreens “are used in

 many types of computing devices, for example Smartphones, tablet computers,

 mobile computers (e.g., laptop computers), all-in-one computers and game

 consoles.” Id., ¶4. Law teaches its touchscreen includes “plurality of touch sensors

 112, 114, 116, 118 positioned around a periphery of the touchscreen 110.” Id., ¶25.

 Law further teaches that its “touch sensors 112-118 are configured to detect when

 and where the touchscreen 110 is touched, for example via a human appendage

 and/or a stylus, as is known to those skilled in the art.” Id.

       Like Yang, Law recognizes that touch-sensitive display devices consume

 power and describes various ways to reduce such power consumption.               Law

 recognized that users are less likely to touch portions of a screen where information

 is not displayed and expect or desire that the device respond to the touch, and

 therefore power supplied to the sensors used to detect user input to those portions

 can be reduced, thereby extending battery life. See, e.g., id., ¶21.

                                           14
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 25 of 89 PageID #: 1842

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

       Law teaches that in one of its embodiments, touch sensors for the area where

 nothing is displayed can be “selectively deactivated.” Id., ¶10. Law teaches that its

 selective deactivation means removing voltage from touch sensors (id., ¶32), which

 a POSITA would understand to be powering them off. Wolfe, ¶76. Finally, Law

 teaches that the display, including the sensors, is controlled by a touchscreen

 controller. See, e.g., Law, Figs. 1-3 and ¶¶7, 24-27.

       Thus, Law, like Yang, teaches that power consumption in electronic devices

 can be reduced by disabling a portion of a touchscreen display, which Law makes

 clear includes powering-off the screen’s touch sensors. Wolfe, ¶77.

       C.     Ignatchenko Overview

       Ignatchenko issued on 8/17/2010 and is thus prior art under 35 U.S.C. §

 102(a)(1). Ignatchenko describes a method for “resizing of an image from a default-

 size resolution to a different or target image size in response to any form of input.”

 Ignatchenko, 4:12-14.       Ignatchenko further teaches that “[i]n a preferred

 embodiment, the image may be resized in response to user input based on the user’s

 preference for the size of the image (e.g., the amount of space that the image

 occupies on a monitor).” Id., 4:14-18. Finally, Ignatchenko describes mathematical

 techniques for increasing the size and resolution of such images. See, e.g., id., 4:21-

 44.



                                           15
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 26 of 89 PageID #: 1843

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

       D.     Grounds 1A: The Combination of Yang and Law Discloses All
              Elements Of The Challenged Claims

              1.     Claim 1

                     [1p] “A method, comprising”

       To the extent the preamble is limiting, Yang discloses a “method” since it

 discloses a method that controls a touchscreen display in a battery-powered portable

 device to control power consumption. Wolfe, ¶79. See, e.g., Yang, Figs. 2-4

 (flowcharts).

                     [1a] “displaying first information in an available display
                          area comprising a first portion of a display screen and
                          associated sensors in a configuration having a plurality
                          of portions, comprising”

       Yang discloses this element. Wolfe, ¶¶80-87. Yang teaches display of “first

 information in an available display area comprising a first portion of a display screen

 and associated sensors.” Yang’s portable electronic device, shown in Figs. 1A-1E,

 has display screen 102 having touch sensors. Yang, ¶19. Wolfe, ¶80.

       In the embodiment shown in Fig. 1C, Yang discloses a personal electronic

 device 100 that displays a reduced-size displaying area 104c, which is generated by

 reducing the size of the original displaying area 104a, shown in Fig. 1A. Yang, ¶42.

 Yang’s reduced-size displaying area 104c contains images 108a-108d and clock 106,

 which corresponds to the recited “first information.” Wolfe, ¶81. Indeed, Yang

 teaches images 108a-108d can be various items such as icon and photos:


                                           16
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 27 of 89 PageID #: 1844

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

              Each image 108a, 108b, 108c, and 108d may be one of text
              or a graphic such as, without limitation, an icon, a tile, a
              button, a menu item, and a photograph.
 Yang, ¶20. A POSITA would understand that icons, menu items, photographs and

 a clock are “information.” Wolfe, ¶82. Thus, the items displayed within Yang’s

 reduced-size displaying area 104c correspond to the “first information” recited in

 this claim element. To demonstrate this, images 108a-108d and clock 106 in

 reduced-size displaying area 104c, i.e., “first information,” displayed in the Fig. 1C

 embodiment are annotated below in yellow:




 Id., ¶82.

        The claim further requires that the recited “first information” be displayed in

 “an available display area comprising a first portion of the display screen.” Images

                                          17
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 28 of 89 PageID #: 1845

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 108a-108d and clock 106 in reduced-size displaying area 104c are plainly displayed

 “in an available display area,” as recited in the claim. Yang, ¶41. Yang further

 reinforces that only the area within reduced-size displaying area is “available” by

 making clear that the remaining screen area is “inactive.” In particular, Yang calls

 the area outside of reduced-size displaying area 104c “inactive area 112,” and

 teaches that it “may be turned off, at rest, or otherwise not available for active use.”

 Yang, ¶23. Thus, a POSITA would recognize that inactive area 112 is not an

 available display area. Wolfe, ¶83. The following annotated version of Fig. 1C

 illustrates where the recited “available screen area” is found in the device through

 purple highlighting:




 Id.


                                           18
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 29 of 89 PageID #: 1846

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

       Next, the claim requires that the recited “available display area” comprise “a

 first portion of a display screen and associated sensors.” Yang’s reduced-size

 displaying area 104c occupies a “first portion of the display screen.” This is shown

 in Fig. 1C below, which is red-boxed to show that Yang’s reduced-size displaying

 area 104c occupies a “first portion” of the display screen:




 Id., ¶84. A composite of the three previous annotated versions of Fig. 1C, showing

 the yellow-highlighted “first information,” purple-highlighted “available display

 area” and red-boxed “first portion” is as follows:




                                          19
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 30 of 89 PageID #: 1847

                                                                   IPR2019-01529
                                                         U.S. Patent No. 8,593,427




 Id., ¶85.

        As discussed, Yang teaches that the recited “available display area” has

 associated sensors. Yang, ¶19. Also, in the embodiment shown in Yang Figs. 1A/1C,

 the images 108a-108d and clock 106 are presented at a reduced-size when displayed

 in reduced-size displaying area 104c. Wolfe, ¶86.

        Finally, Yang also teaches that the embodiment illustrated in Fig. 1C is a

 “configuration having a plurality of portions,” as recited in the claim. As is well

 understood, the term “plurality” means “more than one.” Aug. Tech. Corp. v.

 Camtek, Ltd., 655 F.3d 1278, 1286 (Fed. Cir. 2011). The area of Yang’s display

 screen 102 encompassing reduced-size displaying area 104c corresponds to the


                                         20
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 31 of 89 PageID #: 1848

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 recited “first portion,” and inactive area 112 is another portion of the same display

 screen 102. Yang’s Fig. 1C is thus a “configuration having a plurality of portions.”

 Wolfe, ¶87. Accordingly, Yang discloses all limitations of this element. Id., 80-87.

                    [1b] “the first portion of the display screen and associated
                         sensors, which is configured in a powered-on state to
                         perform display functions and receive user input, and”

       Yang discloses this element. Wolfe, ¶¶88-94. As discussed, the screen area

 occupied by Yang’s reduced-size displaying area 104c corresponds to the “first

 portion of a display screen” recited in the claim. Yang teaches that reduced-size

 displaying area 104c is “configured in a powered-on state to perform display

 functions.” In particular, Yang teaches that reduced-size displaying area 104c both

 “perform[s] display functions and receive[s] user input,” just as the claim requires.

 See, e.g., Yang, ¶53.

       First, the images 108a-108d and clock 106 are displayed within reduced-size

 displaying area 104c. See Yang, ¶21 (“…original size displaying area 104a may be

 adjusted to the size and position of a reduced size displaying area … 104c…. ”).

 Thus, Yang plainly teaches that display screen 102 “perform[s] display functions,”

 as required by the claim. Wolfe, ¶89. Moreover, Yang teaches that one display type

 it can use is OLED technology. Yang ¶19. As a POSITA would know, and Yang

 teaches, pixels of an OLED display can only perform display functions when



                                          21
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 32 of 89 PageID #: 1849

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 “powered-on,” as also required by the claim. Wolfe, ¶90; Yang, ¶28 (“…OLED

 pixels emit photons in response to receiving an electrical charge….”).

       Yang not only teaches that reduced-size displaying area 104c is powered-on

 to perform display operations, but also that the touch sensors associated with

 reduced-size displaying area 104c “receive user input,” as the claim requires:

              In an embodiment, display 102 operations (if any) may
              be functional within adjusted reduced size displaying
              area 104b, 104c, 104d, or 104e of the memorized ASM
              screen. For example, if extracted interface image 108a
              displayed in memorized reduced size displaying area 104d
              or 104e is a selectable icon, the user may select image
              108a to activate a PED 100 feature (e.g., camera, GPS)
              or an application program.
 Yang, ¶53.    Yang contains other teachings confirming that the touch sensors

 associated with its reduced-size displaying area 104c are “powered-on” and “receive

 user input.” For example, Yang teaches that a user can use fingers to “pinch” corners

 of reduced-size displaying area 104c to make the displaying area larger or smaller:

              Reducing techniques include, without limitation, on a
              touch screen using one or more fingers to pinch
              together opposite corners of the displaying area
              104a/104c…. Reducing techniques may reduce the extract
              of the interface so that it keeps the same proportions while
              simulated in small scale. Reduced size displaying area

                                          22
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 33 of 89 PageID #: 1850

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

              104c may be enlarged by an action opposing the action
              taken for reduction.
 Yang, ¶42. A POSITA would understand that such gestures require that sensors

 associated with reduced-size displaying area 104c be “powered-on” and “receive

 user input.” Wolfe, ¶¶91-93.

       Indeed, without the sensors associated with reduced-size displaying area 104c

 “receiv[ing] user input,” the processing elements of the portable electronic device

 would receive no information regarding how to size the extract, and thus, the size of

 the extract would not change. That this is the case is seen by the fact that the display

 screen area outside of reduced-size displaying area 104c (labeled as “inactive area

 112”) can be disabled and be non-responsive to any user input by powering-off the

 sensors in some embodiments. Yang, ¶¶19, 23, 47, and, in particular, ¶53 (“In

 contrast, memorized inactive area 112 may be disabled or non-responsive to

 display 102 operations.”). Thus, the only touch sensors in this embodiment of Yang

 that are capable of “receiv[ing] user input” are those associated with reduced-size

 displaying area 104c. In fact, Yang’s claim 8 makes this explicit, as it recites “The

 method of claim 1 further comprising, responding to a touch screen input

 corresponding to a position within the extract, and not responding to a touch

 screen input corresponding to a position in the inactive area of the display screen.”

 And finally, a POSITA would understand that for the sensors associated with Yang’s


                                           23
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 34 of 89 PageID #: 1851

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 reduced-size displaying area 104c to “receive user input,” such sensors would have

 to be “powered-on.” Wolfe, ¶94. Accordingly, Yang discloses all limitations of this

 element. Id., 88-94.

                    [1c] “a second portion of the display screen and associated
                         sensors, which is configured in a powered-off state and
                         incapable of receiving user input;”

       Yang discloses this element. Wolfe, ¶¶95-101. As discussed in Section

 V.D.1.[1a], Yang’s Fig. 1C embodiment is a “configuration having a plurality of

 portions.” Yang teaches that the portion of its display screen 102 not displaying

 reduced-size displaying area 104c is what it calls “inactive area 112.”

              Referring to FIG. 1B through FIG. 1E, inactive area 112
              is proximate least a portion of the perimeter of reduced
              size displaying area 104b, 104c, 104d, or 104e, and
              extends to the periphery or edge of the display 102 screen.
              In other words, inactive area 112 corresponds to the
              part of the display 102 screen that is not displaying an
              extract of an interface in reduced size displaying area
              104b, 104c, 104d, or 104e.
 Yang, ¶23. Yang’s inactive area 112 shown in Fig. 1C corresponds to the recited

 “second portion of the display screen and associated sensors.” Wolfe, ¶¶95-96. Fig.




                                           24
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 35 of 89 PageID #: 1852

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

 1C has been annotated below to show the “second portion of the display screen”

 hatched in blue:”5




 Id., ¶96.

          Yang also teaches that inactive area 112 is “configured in a powered-off state”

 as required by the claim because it states that inactive area “may be turned off.”

 Yang, ¶23. Wolfe, ¶97.

          In addition, Yang teaches that its display 102 includes touch sensors. See

 Yang, ¶19. A POSITA would understand that Yang’s display 102 includes touch



 5
     Reduced size displaying area 104c is not included in the recited second portion.
                                           25
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 36 of 89 PageID #: 1853

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 sensors for the entire display screen area and that therefore inactive area 112, i.e.,

 the recited “second portion,” has “associated sensors,” as required by this claim

 element. Wolfe, ¶98.

       A POSITA would understand Yang to teach that the touch sensors associated

 with its inactive area 112 (i.e., the recited “second portion”) are in a “powered-off

 state” since Yang teaches that inactive area 112 in its Fig. 1C embodiment “may be

 turned off, at rest, or otherwise not available for active use.” Yang, ¶23. Thus, Yang

 teaches that its inactive area 112 can be “in a powered-off state,” as required by this

 claim element. See Wolfe, ¶99.

       Indeed, Yang teaches that its inactive area 112 may be “disabled” and “may

 not respond” to “a touch command in inactive area 112:”

              In contrast, memorized inactive area 112 may be
              disabled or non-responsive to display 102 operations. For
              example, if the user tries to input a touch command in
              inactive area 112, PED 100 may not respond.
 Yang, ¶53. Thus, a POSITA would understand Yang to teach that the touch sensors

 associated with its inactive area (which corresponds to the recited “second portion”)

 are in a “powered-off state” when the display is as shown in Figure 1C since inactive

 area 112 can be “disabled” and “not respond” to “a touch command in inactive area

 112.” Wolfe, ¶¶100-101.



                                           26
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 37 of 89 PageID #: 1854

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

       To the extent Dareltech argues that Yang does not teach having its touch

 sensors associated with inactive area 112 being in a “powered-off state” as required

 by the claim, a POSITA would have understood that Law teaches this limitation

 because Law discloses that touch sensors associated with unused portions of a

 display screen can be “deactivated” by removing voltage from them. Law, ¶32. In

 particular, Law, discloses embodiments of a device that can reduce its power

 consumption by reducing or eliminating the touch sensitivity of a touchscreen

 display. Law discloses a display having touch sensors 112, 114, 116 and 118, as can

 be seen in Fig. 1, which are annotated below in red:




                                         27
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 38 of 89 PageID #: 1855

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427




 Wolfe, ¶102. A POSITA would understand that this arrangement of touch sensors

 is common. Id.

       Like Yang, Law teaches that power consumption of touchscreen devices can

 be reduced by making active portions of the display screen responsive to user input

 while making unused portions of the display screen non-responsive to user input.

 Law’s touchscreen in Fig. 1 has a region 162 containing two icons 160 (i.e.,

 “information” in the context of the claims of the ’427 patent). Law, ¶31. In the

 context of the ’427 patent, region 162 corresponds to the claimed “first portion” and

                                          28
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 39 of 89 PageID #: 1856

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 the remaining portion of the screen corresponds to the claimed “second portion.”

 Wolfe, ¶103.

       Law further teaches that its touch sensors 170 (also shown in Fig. 1) are

 “associated” with the first portion:

               In response to identifying the object(s) 160 presented on
               the touchscreen 110, via the voltage controller 134, the
               processor 132 can selectively apply a first level of
               voltage to touch sensors 170 configured to detect a
               touch event in the region 162 of the touchscreen 110
               where the object(s) 160 is/are visually presented.
 Law, ¶32; Wolfe, ¶¶104-105. Similarly, Law teaches that the remaining touch

 sensors are “associated” with the second portion, i.e., the screen area outside of

 region 162:

               The processor 132 can apply a second level of voltage
               to the touch sensors 112-118 (excluding the touch
               sensors 170) configured to detect a touch event in one or
               more other regions of the touchscreen where the object(s)
               160 is/are not visually presented.
 Id. Finally, Law describes an embodiment where the touch sensors associated with

 the area outside of region 162 (i.e., the “second portion”) can be “deactivated” by

 removing voltage from them:

               In another arrangement, voltage can be removed from
               the touch sensors 112-118 (excluding the touch sensors
                                           29
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 40 of 89 PageID #: 1857

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

              170). In the case that the voltage is removed from the
              touch sensors 112-118 (excluding the touch sensors
              170) the touch sensors 112-118 (excluding the touch
              sensors 170) can be deactivated.
 Law, ¶32; see also id., ¶10. A POSITA would understand that removing voltage

 from touch sensors to deactivate them results in those touch sensors being “powered-

 off,” as required by the claim. Wolfe, ¶106. Thus, Law explicitly teaches that the

 touch sensors associated with its “second portion” are “in a powered-off state and

 incapable of receiving user input,” as required by the claim.

                           (i)   The Rationale for Combining Yang and Law

       Samsung submits that it need not show a specific motivation to combine Yang

 and Law because Law is being used merely to provide a specific example of the

 teachings in Yang, i.e., that “disabling” touch sensors means powering-them off.

 Realtime Data, LLC v. Iancu, 912 F.3d 1368, 1373 (Fed. Cir. Jan. 10, 2019) (holding

 the Board need not require a motivation to combine a secondary reference where the

 secondary reference is not being used to teach a limitation but rather to explain the

 teachings of a primary reference).

       However, even if a rationale for the combination is required, a POSITA would

 have found it obvious to use Law’s means of powering-off its touch sensors

 (removing voltage input thereto) with the touchscreen display of Yang, resulting in

 a portable battery-powered device such as a mobile phone that reduces power

                                          30
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 41 of 89 PageID #: 1858

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

 consumption by powering-off touch sensors for unused portion(s) of a display

 device. Wolfe, ¶108. Yang specifically teaches that power consumption can be

 reduced by disabling a portion of a touchscreen from receiving user input such that

 the device will not respond when user inputs a touch command in inactive area.

 Yang, ¶53. A POSITA would have understood that this included options for

 powering-off the sensors because removing power to a sensor is the most direct way

 of disabling the sensor and saving battery life. Wolfe, ¶109. This method of

 disabling a sensor is explicitly reinforced by Law, which provides the same teaching

 and further explains specific options for accomplishing this power reduction, i.e.,

 that touch sensors can be disabled by removing voltage from them, e.g., by powering

 them off. Law, ¶32. Using the knowledge of how to disable, e.g., powering-off,

 touch sensors, as known by a POSITA and confirmed by Law, a POSITA would

 understand that Yang’s touch sensors associated with its inactive area 112 are also

 powered-off. Wolfe, ¶109.

       Moreover, the combination involves the mere substitution of one set of known

 elements (the touch sensors and controller disclosed in Law) for others (the touch

 sensors and controller disclosed in Yang) to obtain predictable results, namely the

 substituted Law touch sensors and controller being used by the Yang battery-

 powered device, where the touch sensors are turned off, as in Law. Wolfe, ¶110.



                                         31
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 42 of 89 PageID #: 1859

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

       In addition, a POSITA would have found that combining Yang with Law

 would have been simply combining known techniques of disabling touch sensors in

 a portion of a touchscreen display with the known technique of turning those sensors

 off (i.e., removing voltage therefrom) in a predictable manner. KSR Int’l Co. v.

 Teleflex Inc., 550 U.S. 398, 416-17 (2007). Such combination achieves the express

 goals of both Yang and Law of reducing system power requirements, where Law

 discloses reducing power consumption by powering-off touch sensors by removing

 voltage input thereto and Yang discloses a more generalized disabling of touch

 sensors that would naturally include the Law technique. Wolfe, ¶111. The Yang-

 Law system also would have been straightforward to implement because both

 receive touch inputs on a touchscreen display and both utilize processors, touch

 sensors and software. Id.     Thus, the POSITA would have had a reasonable

 expectation of success in combining the references in the manner claimed in the ’427

 patent. Id.

       Finally, to the extent Yang’s teaching that “inactive area 112 may be disabled

 or non-responsive to display 102 operations” and that “if the user tries to input a

 touch command in inactive area 112, PED 100 may not respond” (Yang, ¶53) do not

 require powering-off of its touch sensors, a POSITA would have found it obvious to

 incorporate Law’s controller and touch sensors that are completely powered-off into

 Yang’s device to further reduce power consumption in Yang. Wolfe, ¶112; DyStar
                                         32
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 43 of 89 PageID #: 1860

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

 Textilfarben GmbH & Co. Deutschland KG v. C.H. Patrick Co., 464 F.3d 1356, 1368

 (Fed. Cir. 2006) (finding motivation to combine exists “[when] the combination of

 references . . . is more desirable, for example because it is . . . cheaper . . . or more

 efficient.”).

        Thus, a POSITA would have been motivated to combine Law’s teachings

 regarding powering-off touch sensors associated with display portions containing no

 images. Wolfe, ¶113. Thus, Yang in view of Law discloses all limitations of this

 element. Wolfe, ¶¶95-113.

                     [1d] “responsive to a user indication in the in the first
                          portion, adding the second portion to the available
                          display area by transitioning the second portion to the
                          powered-on state to perform display functions and
                          receive user input;”

        Yang discloses this element. Wolfe, ¶¶114-127. Yang teaches at least two

 different ways a user indication in reduced-size displaying area 104c (corresponding

 to the recited “first portion”) can add inactive area 112 (corresponding to the recited

 “second portion”) to the available display area. One way is for the user to place

 fingers in reduced-size displaying area 104c and use a “pinch” gesture in an outward

 direction (referred to herein as a “spreading gesture”). Wolfe, ¶114. As Yang states,

 such a spreading gesture will enlarge reduced-size displaying area 104c: “Reduced

 size displaying area 104c may be enlarged by an action opposing the action

 taken for reduction.” Yang, ¶42. A POSITA would understand that a user could

                                            33
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 44 of 89 PageID #: 1861

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 use such a spreading gesture until what was previously reduced-size displaying area

 104c encompasses the entire screen area. Wolfe, ¶¶114-115.

          The result of a spreading gesture can be seen in the annotated drawings below.

 Id., ¶116 As seen in annotated Fig. 1C on the left, reduced-size displaying area 104c,

 highlighted in purple, corresponds to the available display area recited in element

 [1a], discussed above.6 As can be seen on the right side, by using a spreading gesture

 to enlarge the first information shown in reduced-size displaying area 104c, inactive

 area 112 (i.e., the claimed “second portion”) has been added to the available display

 area (also shown purple-highlighted):7




 6
     Claim element [1a] requires that “available display area” comprise the ‘first
 portion” of the display screen. Thus, left-side annotated drawing shows the purple-
 highlighted “available display area” and the red-boxed “first portion” as
 encompassing the same screen area.
 7
     Because this claim element requires that the “second portion” be added to the
 “available display area,” right-side annotated drawing shows the purple-
 highlighted “available screen area” encompassing the entire screen.
                                            34
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 45 of 89 PageID #: 1862

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427




 Wolfe, ¶116. Thus, one way in which Yang teaches that a user indication in reduced-

 size displaying area 104c will result in its system adding inactive area 112 to the

 available display area is through a spreading gesture.

       The second way Yang teaches that a user indication in reduced-size displaying

 area 104c (corresponding to the recited “first portion”) adds inactive area 112

 (corresponding to the recited the “second portion”) to the available display area is

 described in the context of Fig. 3. Wolfe, ¶117. Fig. 3 is a flow chart illustrating

 how Yang’s processing elements running the software described therein (what Yang

 calls its “display adjustment module”) from adjusted screen mode (“ASM”) (e.g.,

 Fig. 1C) to original screen mode (“OSM”) (Fig. 1A). For convenience, Fig. 3 is

 reproduced below:

                                          35
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 46 of 89 PageID #: 1863

                                                                   IPR2019-01529
                                                         U.S. Patent No. 8,593,427




 At box 305, Yang’s portable electronic device is in ASM, one example of which is

 shown in Fig. 1C:

             Referring to block 305, while in ASM, a memorized ASM
             screen (e.g., memorized displaying area and inactive area)
             may be displayed on display 102 screen. In an
             embodiment, display 102 operations (if any) may be
             functional within adjusted reduced size displaying area
             104b, 104c, 104d, or 104e of the memorized ASM screen.
 Yang, ¶53. As is seen, Yang discloses that display operations can be functional

 within the various reduced-size displaying area embodiments, including the
                                        36
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 47 of 89 PageID #: 1864

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 embodiment shown in Fig. 1C. And as discussed regarding claim element [1c],

 while in this state, inactive area 112 does not respond to user input. Id; see also

 Wolfe, ¶¶118-119.

       The flowchart in Fig. 3 advances to diamond 310, where the method

 determines whether there has been a “trigger” that would cause Yang’s device to

 transition from ASM to OSM (e.g., transition from a display as in Fig. 1C to a display

 as in Fig. 1A). Yang, ¶54; Wolfe, ¶120. Yang teaches that there are various triggers,

 one of which is selecting an icon (e.g. one of images 108a-108d):

              In diamond 310, display adjustment module may
              determine if a triggering event has occurred. Many
              different events may constitute a triggering event. For
              example, a triggering event may include a manual input
              for disabling ASM, selecting an image such as an
              icon….
 Yang, ¶54. Yang states that reduced-size displaying area 104c (shown in Fig. 1C)

 contains images 108a-108d, which Yang states can be icons. Id., ¶20. Thus, one of

 Yang’s triggers used to transition from ASM to OSM is tapping on an icon within

 reduced-sized displaying area 104c. Thus, Yang teaches that the transition from

 ASM to OSM can be “responsive to a user indication in the first portion,” i.e., a user

 indication within reduced-size displaying area 104c. Wolfe, ¶121.




                                          37
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 48 of 89 PageID #: 1865

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

       If Yang’s system detects such a trigger, the system advances to diamond 315,

 where Yang’s system determines whether to change its mode. Yang, ¶54 (“If,

 however, the event is a triggering event, the process may continue to diamond 315.”).

 Yang further teaches that if the user selects an icon when in ASM, the system in

 diamond 315 will cause the display to switch to original screen mode so that the full

 user interface is displayed:

              Using selecting icon 108a as an example of activating a
              PED 100 feature or application, in diamond 315 the
              display adjustment module may cause the display 102
              to automatically switch to OSM (block 320) so that a
              full sized, functioning user interface for the activated
              feature/application    program      is   displayed   (e.g.,
              displaying area 104a).
 Yang, ¶55.      Wolfe, ¶122.     According to Yang, one such example of a

 “feature/application program” is a home screen. Yang, ¶55. And Yang explicitly

 teaches that Fig. 1A shows a home screen displayed in original screen displaying

 area 104a:

              In OSM, a displaying area such as an original displaying
              area 104a can be in a default configuration such as
              occupying all or almost all of display 102 screen. As
              shown in FIG. 1A, an original interface such as a home
              screen can be displayed in the displaying area 104a.


                                          38
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 49 of 89 PageID #: 1866

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

             The original interface shown in FIG. 1A includes a clock
             area 106 and images 108a, 108b, 108c, and 108d.
 See Yang, ¶20. See also Wolfe, ¶123.

       Thus, Yang teaches that its system will respond to a user tapping on an icon

 within reduced-size displaying area 104c (meeting the claim requirement

 “responsive to a user indication in the in the first portion”) by transitioning from

 ASM like in Fig. 1C to OSM like in Fig. 1A. This will look just like the annotated

 Figs. 1A and 1C shown above and reproduced here for convenience:




 Wolfe, ¶124. Thus, a second way Yang teaches that a user indication in reduced-

 size displaying area 104c will result in its system adding inactive area 112 to the




                                         39
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 50 of 89 PageID #: 1867

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 available display area is by tapping one of the icons 108a-108d within reduced-size

 displaying area 104c. Id., ¶125.

       Regardless of which method a user of Yang’s system chooses to add the

 previously inactive area 112 to the available display area, the previously inactive

 area 112 (i.e., the claimed “second portion”), will transition to the powered-on state

 to perform display functions and receive user input, as required by the claim. Should

 a user enlarge reduced-size displaying area 104c using a spreading gesture such that

 the entire home screen is displayed, as shown in Fig. 1A, the screen area that was

 previously inactive area 112 will, after transition, display images that can be icons

 (a portion of image 108b, as well as images 108c-108d) and clock 106, meaning that

 the recited “second portion” will be “powered-on,” as required by the claim.

 Likewise, previously inactive area 112 will “receive user input” because a user will

 be able to tap on the icons that are displayed after completion of the spreading

 gesture to, e.g., launch applications. Id., ¶126.

       Likewise, should a user enlarge reduced-size displaying area 104c shown in

 Fig. 1C using the method illustrated in Fig. 3 to display the home screen shown in

 Fig. 1A, the result is the same: The previously inactive area 112 (i.e., the claimed

 “second portion”) will transition to the powered-on state to perform display

 functions and receive user input, as required by the claim. Just as with the spreading

 gesture method described immediately above, the screen area that was previously
                                           40
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 51 of 89 PageID #: 1868

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 inactive area 112 will display images (e.g., icons 108c-108d) and clock 106, and thus

 be “powered-on,” as required by the claim. Likewise, previously inactive area 112

 will “receive user input” because a user will be able to tap on the icon images (e.g.,

 108c-108d) displayed in the previously inactive area 112 (i.e., the “second portion”)

 to, e.g., launch applications. Id., ¶127.

       Accordingly, Yang discloses all limitations of this element. Id., ¶¶114-127.

                     [1e] “displaying second information in the second portion;”

       Yang discloses this element. Wolfe, ¶¶128-129. Regardless of how a user

 chooses to transition the display from what is shown in Yang’s Fig. 1C to what is

 shown in Fig. 1A, “second information” is displayed in the “second portion.” Id.,

 ¶128. As discussed, Yang’s inactive area 112 shown in Fig. 1C corresponds to the

 claimed “second portion.” Thus, when Yang’s device transitions from displaying

 information as in Fig. 1C to the manner shown in Fig. 1A, the images 108c-108d,

 the portion of image 108b, and clock 106 shown in what had been inactive area 112

 prior to transition are the recited “second information.” The claimed “second

 information” can be seen in the annotated Fig. 1A below, highlighted in green, while

 the “first portion” and the “second portion” continue to be red-boxed and blue-

 hatched, respectively:




                                             41
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 52 of 89 PageID #: 1869

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427




 Id., ¶128. Accordingly, Yang discloses all limitations of this element. Id., ¶¶128-

 129.

                    [1f]   “generating the second information by mathematically
                           upscaling the first information,”

        As discussed, the ordinary meaning of “mathematically upscaling” is “using

 mathematical techniques to make a displayed image larger.” This plainly is what

 Yang’s system does when it transitions from what is displayed in Fig. 1C to what is

 displayed in Fig. 1A. As is easily seen, the images 108c-108d (e.g., icons), the

 portion of image 108b, and clock 106 in the “second portion” have all been enlarged,


                                         42
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 53 of 89 PageID #: 1870

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 i.e., upscaled, from their smaller representations that had been displayed in reduced-

 size displaying area 104c (the claimed “first portion”). Id., ¶130.

       The below annotated figures show that the second information (in green) has

 been generated by upscaling the first information (shown in yellow):




 Id., ¶131. In addition, the second information has plainly been upscaled using

 mathematical techniques. Yang teaches that display adjustments are made by what

 it calls a “display adjustment module.” See, e.g., Yang, ¶52. Yang’s display

 adjustment module can be part of the device’s operating system. See, e.g., id., ¶31;

 see also Wolfe, ¶¶132-133.

       A POSITA would know that operating systems and other types of software

 enlarge images for display on a screen by using mathematical techniques to upscale
                                         43
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 54 of 89 PageID #: 1871

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 the image. Id., ¶134, citing to Ignatchenko, 3:61-4:5, 4:21-44. For example, Yang

 explains that “[r]educed size displaying area 104d may be enlarged by any

 enlargement technique, which generally may be opposite a reducing technique.”

 Yang ¶44. Moreover, as discussed in Section IV.D.1, the ’427 patent provides no

 specific examples of how to perform mathematical upscaling, and thus, the

 disclosure in Yang describing processors executing software to enlarge images is

 indistinguishable from that in the ’427 patent, and a POSITA would have understood

 that using processors executing software to be within the plain meaning of

 “mathematically upscaling.” Wolfe, ¶135.

       To the extent Dareltech argues that mathematically upscaling an image

 requires an increase in not only size but also resolution, a POSITA would have

 recognized that the enlargement of an image as described above in Yang would entail

 a corresponding increase in the resolution of the image, in particular to maintain the

 image’s clarity/sharpness in enlarged form. Id., ¶136, citing to Ignatchenko, 1:21-

 48, 2:58-60, 4:12-20.

                    [1g] “wherein the second information comprises a portion
                         of the first information upscaled for display in both the
                         second portion and the first portion; and”

       Because element [1e] requires that the “second information” be displayed in

 the “second portion,” this element requires that the “first information” be “upscaled

 for display in both the second portion and the first portion,” and that the “second

                                          44
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 55 of 89 PageID #: 1872

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 information” comprise a portion of the upscaled “first information.” . Yang teaches

 this, as seen in the following annotated figures:




 On the left, Yang’s display screen is annotated to show the “first information,” i.e.,

 the images within reduced-size displaying area 104c, in yellow. Reduced-size

 displaying area 104c itself corresponds to the recited “first portion,” and is red-

 boxed. As also discussed, inactive area 112 (blue-hatched) corresponds to the

 recited “second portion.” Wolfe, ¶¶137-138.

       When Yang’s device transitions from displaying what is illustrated in Fig. 1C

 to what is illustrated in Fig. 1A, the images 108a-108d and clock 106 comprising the

 “first information” are plainly “upscaled for display in both the second portion and

 the first portion,” as discussed in Section V.D.1.[1f]. The resulting screen display is
                                            45
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 56 of 89 PageID #: 1873

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

 seen on the right-hand side of the above annotated drawings. The “first portion” of

 the screen remains red-boxed and the “second portion” of the screen remains blue-

 hatched. The “second information” is green-highlighted. As seen, the “second

 information” comprises images 108c, 108d, clock 106 and a portion of image 108b

 and thus comprises only a “portion of the first information,” as required by this claim

 element. Wolfe, ¶¶139-140.

       To the extent Dareltech argues that element [1g] requires the “second

 information” (i.e., not the first information) be displayed “in both the second portion

 and the first portion,” such an argument would be contrary to the plain language of

 the claim element, which clearly requires that it is the “first information” that is

 upscaled for display in both first and second portions. Wolfe, ¶141. In addition,

 element [1e] recites “displaying second information in the second portion” while

 saying nothing about displaying second information in the first portion, which is thus

 contrary to Dareltech’s potential read of the element [1g], while element [1f]

 confirms that it is the “first information” that is upscaled for display in both portions.

 Id.

       Regardless, even under this mistaken interpretation, Yang still discloses the

 element. For example, by classifying images 108a, 108c, 108d, and clock 106 as the

 “second information,” as shown below, the second information is displayed in “both



                                            46
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 57 of 89 PageID #: 1874

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 the second portion and the first portion” (e.g., 106 in second portion and 108a in first

 portion). Id., ¶142.




 Accordingly, Yang discloses all limitations of this element. Id., ¶137-143.

                     [1h] “displaying third information in the first portion,
                          wherein the third information comprises a portion of
                          the first information upscaled for display in both the
                          second portion and the first portion.”

       As with element [1g], because this element requires that the “third

 information” be displayed in the “first portion,” this element requires that the “first

 information” be “upscaled for display in both the second portion and the first

 portion,” and that the “third information” comprise a portion of the upscaled “first



                                           47
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 58 of 89 PageID #: 1875

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 information.”    Wolfe, ¶¶145-151. Yang teaches this, as seen in the following

 annotated figures:




 As discussed in the context of element [1g], the left-side of this illustration shows

 Yang’s display screen annotated to show the “first information,” i.e., the images

 within reduced-size displaying area 104c, in yellow. Reduced-size displaying area

 104c itself corresponds to the recited “first portion,” and is red-boxed. Inactive area

 112 (blue-hatched) corresponds to the recited “second portion.” Id., ¶¶144-145.

       When Yang’s device transitions from what is displayed in Fig. 1C to what is

 displayed in Fig. 1A, images 108a-108d (and clock 106) comprising the “first

 information” are “upscaled” to fill screen 102, as discussed in Section V.D.1.[1f].

 The resulting display is seen on the right-hand side of the above annotated drawings.
                                            48
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 59 of 89 PageID #: 1876

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 The “first portion” of the screen remains red-boxed. The “third information” is gray-

 highlighted. As seen, the “third information” comprises image 108a and a portion

 of image 108b. In this case, images 108c, 108d, clock 106 and a different portion of

 image 108b are not included in the “third information. Thus, the “third information”

 comprises a “portion of the first information,” as required by this claim element.

 Wolfe, ¶¶146-147.

       To the extent Dareltech argues that element [1h] requires the “third

 information,” (i.e., not the first information) be displayed “in both the second portion

 and the first portion,” such an argument would be contrary to the plain language of

 the claim element, which clearly requires that it is the “first information” that is

 upscaled for display in both first and second portions. Id., ¶148. Indeed, this element

 [1h] recites “displaying third information in the first portion,” which is contrary to

 Dareltech’s potential read of this element, while element [1f] confirms that it is the

 “first information” that is upscaled for display in both portions. Id.

       Regardless, even under this mistaken interpretation, Yang still discloses the

 element. For example, by classifying image 108b as the “third information” as

 shown below, the third information has been upscaled from the first information and

 is further displayed in “both the second portion and the first portion.” Id., ¶149.




                                           49
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 60 of 89 PageID #: 1877

                                                                   IPR2019-01529
                                                         U.S. Patent No. 8,593,427




 Accordingly, Yang discloses this element, and claim 1 is rendered obvious by Yang

 in view of Law. Id., ¶¶144-151.

             2.    Claim 2

                   [2a] “The method of claim 1, further comprising: receiving
                        a graphical content data structure comprising content
                        for display in the available display area; and”

       Yang discloses this element. Wolfe, ¶¶152-163. First, Yang teaches that it

 uses data structures. Yang, ¶86. And Yang teaches that the images displayed on its

 screen are rendered by processing elements that convert bitmaps into signals for

 display:

             [A] display adaptor may include one or more graphics
             processing units (GPUs) and/or one or more controllers.

                                        50
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 61 of 89 PageID #: 1878

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

              The display adaptor may process data for graphics
              rendering and may convert rendered patterns (e.g.,
              bitmap) into signals for display 102 screen. This is but
              one high-level example of how images may be rendered
              on display 102 screen; an embodiment is not limited by
              how images are rendered on display 102.
 Id., ¶30. A POSITA would know that bitmaps are data structures:

              Bitmap n. A data structure in memory that represents
              information in the form of a collection of individual bits.
              A bit map is used to represent a bit image.
 Ex. 1008, p. 61. See also Wolfe, ¶¶153-154.

       The ordinary meaning of the term “graphical content data structure” is “an

 organized collection of graphics data.” See Section IV.D.2. The graphics data can

 be a single data value or can be a data structure in and of itself, i.e., a data structure

 can be an organized collection of smaller data structures. Wolfe, ¶155.

       Dr. Wolfe provides an apt analogy. See Id., ¶156. A mailing list can be stored

 within a data structure. In this example, the mailing-list data structure is an

 organized collection of names and addresses. Each name or address is an element.

 And each of the names consists of an organized collection of letters. The letters are

 both elements of the name data structure and also elements of the mailing-list data

 structure. The mailing list data structure includes a variety of elements of different

 sizes including the names, the addresses, and the letters that comprise them.

                                            51
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 62 of 89 PageID #: 1879

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

       The data structures disclosed in Yang have the same characteristics. Each

 bitmap representing an image such as images 108a or 108b is a data structure. Yang

 ¶30. A POSITA would know that each is comprised of an array of pixel color values

 (an organized collection of data) that represents the image appearance. These pixel

 color values are elements of the bitmap data structure. Wolfe, ¶157. Each pixel

 color value consists of a set of subpixel values representing individual colors or

 transparency. Yang ¶¶25-27, 47. These subpixel values are elements of the bitmap

 as well. Wolfe, ¶157.

       Additionally, Yang includes a user interface (e.g. user interface 66) that

 incorporates a set of bitmaps. Yang, ¶¶83-84. For example, Yang describes that

 “the graphical user interface 66 can provide the display manager 64 with data that

 describes the appearance and position of windows, icons, control elements, and

 similar types of user interface objects.” Id., at ¶83. A POSITA would also know

 that this user interface is also a data structure that incorporates bitmaps, pixel color

 values, and subpixel values as elements. Wolfe, ¶158. Any of these data structures

 disclosed by Yang may be used to satisfy the graphical content data structure element

 of the dependent claims. Id., ¶159.

       Moreover, as discussed, Yang teaches that exemplary information displayed

 on its screen as images 108a-108d, shown in its Figs. 1A and 1C can be icons:



                                           52
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 63 of 89 PageID #: 1880

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

              The original interface shown in FIG. 1A includes a clock
              area 106 and images 108a, 108b, 108c, and 108d. Each
              image 108a, 108b, 108c, and 108d may be one of text or
              a graphic such as, without limitation, an icon, a tile, a
              button, a menu item, and a photograph.
 Yang, ¶20. Thus, Yang teaches that its images 108a-108d and the components

 thereof such as bitmaps, pixel color values, and subpixel values are all elements of

 in the recited “graphical content data structure.” Wolfe, ¶¶160-161.

       Moreover, a POSITA would understand that the group of images 108a-108d

 can form either a set of bitmaps or one larger bitmap, which would, in either case,

 form a data structure.    This data structure (e.g. graphical user interface 66),

 containing the bitmaps for images 108a-108d, corresponds to the recited “graphical

 content data structure.” Id., ¶162.

       In the various embodiments of Yang, and in particular the processing elements

 of Yang’s device (e.g., GPUs, processors etc., discussed in ¶¶30, 64-77) will receive

 the bitmaps, e.g., the graphical content data structure for images 108a-108d, to be

 displayed in the “available display area.” Wolfe, ¶163. As discussed, in the context

 of Yang, the “available display area” can be the entire display screen as in Fig. 1A

 or a reduced-size displaying area 104c as in Fig. 1C, meaning that Yang discloses

 this claim element. Id.



                                          53
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 64 of 89 PageID #: 1881

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

                     [2b] “selecting elements of the graphical content data
                          structure for display in the available display area
                          based at least in part on whether the second portion is
                          in a powered-on state.”

       Yang discloses this element. Wolfe, ¶¶164-175. An example of an element

 of a graphical content data structure in the ’427 patent is an icon. See ’427 patent,

 17:59-67; 8:39-42; Figs 7-8. As discussed in Section V.D.2.[2a], Yang discloses

 bitmaps representing icons, e.g., images 108a-108d, which a POSITA would

 understand are the same as the elements of a graphical content data structure

 disclosed in the ’427 patent. In addition, a POSITA would understand that Yang’s

 bitmaps include pixel color values, and subpixel values which are also elements of

 this graphical content data structure. Wolfe, ¶164.

       When Yang’s device is in the state shown in Fig. 1C, in which inactive area

 112 (the recited “second portion”) is powered-off, it selects bitmaps corresponding

 to icons 108a-108d for display in reduced-size displaying area 104c. See, e.g., Yang

 Fig. 1C. This selection is based on whether the second portion (inactive area 112)

 is in a powered-on state. Yang states that “[g]enerally, all or part (i.e., an ‘extract’)

 of the original user interface shown in original size displaying area 104a may be cut

 (i.e., extracted) and displayed in reduced-size displaying area 104b, 104c, 104d, or

 104e.” See Yang, ¶21; Wolfe, ¶165.




                                            54
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 65 of 89 PageID #: 1882

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

       Furthermore, when the second portion (inactive area 112) is in a powered-off

 state, reduced-size images corresponding to icons 108a-108d are displayed in

 available display area 104c. Yang teaches that “the extract of the complete visible

 interface, should be reduced in size such as to reduced size displaying area 104c.”

 Yang, ¶41. Yang further explains that “[r]educing techniques may reduce the extract

 of the interface so that it keeps the same proportions while simulated in small scale.”

 Id., ¶42. A POSITA would understand that the size reduction of the icons taught in

 Yang can be accomplished by selecting a subset of the pixel color values (elements

 of the graphics content data structure) for display. For example, selecting every

 other pixel color value in each row of a bitmap would display an icon image that is

 half as wide. This common technique would be well known at the time of the Yang

 application and would correspond to Yang’s teaching regarding the size reduction of

 bitmaps. Wolfe, ¶166.

       Yang discloses this limitation in a second way. As discussed, an example of

 an element of a graphical content data structure in the ’427 patent is an icon. See,

 e.g., ’427 patent, 17:60-67. Yang teaches that images 108a-108d can be icons, and

 that collectively, images 108a-108d (and clock 106), form “an original interface such

 as home screen.” Yang, ¶20. Thus, POSITA would recognize that Yang’s original

 interface is a graphical content data structure since it is made up of bitmaps. Wolfe,

 ¶167; Yang, ¶30.
                                           55
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 66 of 89 PageID #: 1883

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

         Yang discloses that its device can switch from OSM to ASM, which results in

 all or part of the original interface being extracted to fit into reduced-size displaying

 area:

               Generally, all or part (i.e., an “extract) of the original
               user interface shown in original size displaying area 104a
               may be cut (i.e., extracted) and displayed in reduced
               size displaying area 104b, 104c, 104d, or 104e.
 Yang, ¶21. Yang also teaches that a single icon can be “selected and extracted from

 the original interface” for display in ASM (Id., ¶44), an example of which is shown

 in Fig. 1D, and further teaches that the ASM figures shown in Figs. 1B-1E are non-

 limiting examples, and that “a displaying area may be adjusted in numerous different

 ways to meet a particular user’s needs.” Id., ¶21. And as seen in the block quote

 above, Yang specifically teaches that an extract of the original interface can be

 “displayed in reduced size displaying area 104b, 104c, 104d, or 104e.” Id. Thus,

 Yang teaches that a single icon, e.g., image 108a, can be selected and displayed in

 reduced-size displaying area 104c. This is illustrated in the annotated and modified

 figures below showing Yang’s device in OSM (left-side) and ASM (right-side):




                                            56
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 67 of 89 PageID #: 1884

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427




 Wolfe, ¶¶168-169. In both figures, the area of the display corresponding to the

 recited “second portion” and “available display area” are blue-hatched and purple-

 highlighted, respectively. On the right-side, Fig. 1D has been modified to show

 display of image 108a inside of reduced-size displaying area 104c (instead of 104d),

 as Yang teaches is possible. Id., ¶170.

       The “selecting elements” limitation is thus met as follows: When in OSM,

 Yang’s original interface is displayed (i.e., images 108a-108d (and clock 106)).

 Since Yang’s original interface corresponds to the recited “graphical content data

 structure,” when in OSM, all elements of the graphical content data structure for


                                           57
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 68 of 89 PageID #: 1885

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 Yang’s original interface have been selected for display in original displaying area

 104a, thus corresponding to the “selecting elements” limitation. Id., ¶171.

       When in ASM, an extract of the original interface is displayed in the reduced-

 size displaying area 104c (i.e., the recited “available display area”). Yang’s

 extracting an icon from Yang’s original interface thus also corresponds to the

 “selecting elements” limitation since Yang’s original interface corresponds to the

 recited “graphical content data structure,” and extracting an image, e.g., icon 108a,

 is “selecting elements.”. Id., ¶172.

       When in ASM, inactive area 112 is powered-off. Yang, ¶23. Thus, when

 Yang extracts icons from its original interface for display in ASM, a POSITA would

 understand that the selection is “based at least in part on whether the second portion

 is in a powered-on state” since the selection is based on switching to the reduced-

 size displaying area (the recited “available display area”), where inactive area 112

 (“second portion) is in a powered-off state. Yang, ¶53. Similarly, when Yang

 switches to OSM, the selection of elements (e.g., icons) is also based in part on the

 fact that formerly inactive area 112 is in a powered-on state since the selection is

 based in part on the device’s knowledge that inactive area 112 is powered-on and

 can have icons displayed (i.e., in a powered-on state). Wolfe, ¶173. Note that the

 claim only requires selection of elements based “in part” on whether the second

 portion is in a powered-on state. Thus, Yang’s selection of elements based on other
                                          58
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 69 of 89 PageID #: 1886

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 criteria (e.g., dimensions) in addition to the powered-on state of inactive area 112, is

 immaterial. Id.

       Thus, Yang discloses this element in two ways, and the claim is obvious. Id.,

 ¶¶174-175.

              3.       Claim 3

                       [3a] “The method of claim 1, further comprising: receiving
                            a graphical content data structure comprising content
                            for display in the available display area; and”

       See Section V.D.2.[2a]; Id., ¶176.

                       [3b] “scaling elements of the graphical content data
                            structure for display in the available display area
                            based at least in part on a dimension of the available
                            display area.”

       Yang discloses this element. Id., ¶¶177-182. As discussed, the area of the

 recited “available display area” varies depending on whether it includes only the

 recited “first portion” or both the recited “first portion” and “second portion.” As

 also discussed, Yang teaches scaling of images 108a-108d and 106 when

 transitioning from what is displayed in Fig. 1C to what is displayed in Fig. 1A. See

 Section V.D.1.[1f].

       Yang explicitly teaches that scaling of images 108a-108d and 106 is based on

 the dimension of the available display area:

              While in ASM, the frame size displaying area may be
              further adjusted to manipulate the extract of the original

                                            59
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 70 of 89 PageID #: 1887

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

              interface. For example, with respect to FIG. 1C, the
              frame size displaying area (which is the same as
              original size displaying area 104a) may be reduced to a
              reduced size displaying area 104c such that the extract
              of the original user interface is decreased to the same
              proportion.
 Yang, ¶22; see also Wolfe, ¶178. Yang further states:

              Initially, the display adjustment module may cause the
              extracted interface selection to be framed by a
              displaying area (i.e., "frame size displaying area"), as
              indicated in block 215. As one example, in response to a
              select or extract instruction, the display adjustment
              module     may     cause    displaying    area    104a    to
              automatically resize (if need be) to a frame size display
              area to frame the selected extract of an interface.
 Yang, ¶37; see also Wolfe, ¶179. Yang’s disclosure that the displaying area 104a

 can resize “to a frame size display area” demonstrates that it scales its graphical

 content data structure (e.g., original interface) based at least in part on a dimension

 of the available display area. As is well understood, a “dimension,” is a measure in

 one direction (Ex. 1009, p. 351), which in the context of the claim, is the height or

 width of the display area. Wolfe, ¶180. The scaling of images 108a-108d and 106

 to get from what is displayed in Fig. 1C to what is displayed in Fig. 1A in Yang will




                                           60
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 71 of 89 PageID #: 1888

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

 plainly be based, at least in part, on the height or width of the available display area.

 Id.

       Yang contains additional teachings showing that elements of its graphical

 content data structure are scaled “based at least in part on a dimension of the

 available display area.” For example, Yang discloses that icon 108a can be displayed

 in multiple different ways. Icon 108a is plainly an element of a graphical content

 data structure since it is a bitmap. Id., ¶181. Moreover, icon 108a is displayed as in

 Fig. 1A when the entire screen 102 is the available display area. Likewise, icon 108a

 is displayed as in Fig. 1D when reduced-size displaying area 104d is the available

 display area. Finally, icon 108a is displayed as in Fig. 1E when reduced-size

 displaying area 104e is the available display area. See Yang, ¶¶21, 23; see also,

 Wolfe, ¶181. Each of reduced-size displaying areas 104d and 104e, as well as

 original displaying area 104a have “dimensions,” and icon 108a, i.e., an element of

 a graphical content data structure, is plainly scaled based on the dimensions of each.

 Id.

       Thus, Yang discloses this element, and Yang in view of Law renders the claim

 obvious.




                                            61
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 72 of 89 PageID #: 1889

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

              4.     Claim 4

                     [4a] “The method of claim 1, further comprising: receiving
                          a graphical content data structure comprising content
                          for display in the available display area; and”

       See Section V.D.2.[2a]; Id., ¶183.

                     [4b] “scaling elements of the graphical content data
                          structure for display in the available display area
                          based at least in part on whether the second portion is
                          in a powered-on state.”

       Yang discloses this element. Id., ¶¶184-187. Claim element [4b] is similar to

 element [3b], the difference being that element [4b] requires that the scaling be based

 in part on whether the recited “second portion” is in the powered-on state. As

 discussed, Yang teaches scaling of images 108a-108d and 106 when transitioning

 from what is displayed in Fig. 1C to what is displayed in Fig. 1A. See Section

 V.D.1.[1f]. Yang explicitly teaches that scaling of images 108a-108d and 106 is

 based on whether inactive area 112 of Fig. 1C (which as discussed corresponds to

 the recited “second portion”) has transitioned to a powered-on state. See Yang, ¶20

 (explaining that in OSM, i.e., when the second portion is powered-on, information

 is displayed as depicted in Fig. 1A, at a larger scale); Yang, ¶22 (explaining that in

 ASM, i.e., when the second portion is powered-off, information is displayed as

 depicted in Fig. 1C, at a smaller scale). Since the “automatic full-size display” can

 result from a setting (either a default or a user configuration), whether images 108a-

 108d and 106 will be scaled to be displayed in what had been inactive area 112 when
                                            62
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 73 of 89 PageID #: 1890

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

 transitioning from the display in Fig. 1C to the display in Fig. 1A, is based, at least

 in part, on whether inactive area 112 transitioned to a powered-on state. If the

 “second portion” is not powered-on, images 108a-108d and 106 are displayed as in

 Fig. 1C. If, however, the “second portion” is powered-on, images 108a-108d and

 106 are scaled to be displayed as in Fig. 1A. Wolfe, ¶184.

       Yang contains other teachings demonstrating that scaling of images 108a-

 108d and clock 106 is “based at least in part on whether the second portion is in a

 powered-on state.” For example, Yang states:

              An embodiment of a portable electronic device may
              conserve power while in a normal operating mode by
              switching from an original screen mode to an adjusted
              screen mode. While in adjusted screen mode, the device
              display may include an adjustable displaying area and
              an inactive area. An extract from a user interface may be
              displayed in the adjustable displaying area and the
              adjustable displaying area may be adjusted to occupy
              less than the entire display screen. Thus, at least a
              portion of the adjusted displaying area perimeter may
              be adjacent to the inactive area, which may extend to the
              periphery of the display screen. Thus, the inactive area
              may fill the portion of the display screen that is not being
              used to display the extract of the user interface in the
              adjustable displaying area.


                                            63
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 74 of 89 PageID #: 1891

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

 Yang, ¶18. Wolfe, ¶185.

       Thus, Yang discloses this element, and Yang in view of Law renders the claim

 obvious.

             5.     Claim 5

                    [5a] “The method of claim 1, further comprising: receiving
                         a graphical content data structure comprising content
                         for display in the available display area; and”

       See Section V.D.2.[2a]; Wolfe, ¶188.

                    [5b] “adjusting a position relative to a background element
                         of a foreground content element of the graphical
                         content data structure for display in the available
                         display area based at least in part on whether the
                         second portion is in a powered-on state.”

       Yang discloses this element. Wolfe, ¶¶189-194. The plain English of this

 element requires adjusting the position of “a foreground content element of the

 graphical content data structure.” This positional adjustment must be relative to “a

 background element” and be based on whether the recited “second portion” is in the

 powered-on state. Wolfe, ¶189.

       The background of Yang’s original displaying area 104a (see Yang ¶20 (“e.g.,

 “…background such as wallpaper…”)) corresponds to the recited “background

 element.” Wolfe ¶190. A POSITA would have understood that information such as

 images 108a-108d or clock 106, which are of importance to a user or with which the

 user may interact, correspond to the recited “foreground content element[s].” Id.

                                         64
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 75 of 89 PageID #: 1892

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 Where foreground elements 108a-108d and clock 106 are positioned relative to the

 background element displayed on display screen 102 is plainly based on whether

 inactive area 112 (the recited “second portion”) is powered-on since each has had

 their position adjusted relative to the background element.          This positional

 adjustment is based on whether, as in Fig. 1C, inactive area 112 (i.e., the “second

 portion”) has been powered-off, or, as in Fig. 1A, the second portion is powered-on.

 This can be seen in Figs. 1A and 1C as annotated below:




 Wolfe, ¶190. Thus, Yang discloses this claim element.

       In addition, Yang further teaches that the position of the adjusted display area

 104c (which includes foreground elements 108a-108d and 106) may be adjusted

 relative to the remainder of the display screen:

                                          65
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 76 of 89 PageID #: 1893

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

             Although not shown, an adjusted displaying area 104 b,
             104 c, 104 d, or 104 e also may be moved to a different
             location of display 102 screen.
 Yang, ¶54; Wolfe, ¶191.

       Moreover, Yang explicitly discloses that in ASM, a “display adjustment

 module” may cause a displaying area, i.e., foreground content elements, to be

 “adjusted … by repositioning”:

             Referring now to block 220, the display adjustment
             module may cause a frame size displaying area to be
             adjusted or further adjusted such as by repositioning,
             reducing, enlarging and/or stretching.
 Yang, ¶39; Wolfe, ¶192.      Yang further discloses that all of the embodiments

 described therein “may optionally include, repositioning the frame size displaying

 area from the original position on the display screen to a different position on the

 display screen,” as is required by this element of claim 5 of the ’427 patent. Yang,

 ¶94; Wolfe, ¶193.. Thus, Yang in view of Law renders claim 5 obvious.

             6.     Claim 6

                    [6a] “The method of claim 1, further comprising: receiving
                         a graphical content data structure comprising content
                         for display in the available display area; and”

       See Section V.D.2.[2a]; Wolfe, ¶195.




                                         66
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 77 of 89 PageID #: 1894

                                                                        IPR2019-01529
                                                              U.S. Patent No. 8,593,427

                     [6b] “selecting elements of the graphical content data
                          structure for display in the available display area
                          based at least in part on a dimension of the available
                          display area.”

       Yang discloses this element. Wolfe, ¶¶196-199. An example of an element

 of a graphical content data structure in the ’427 patent is an icon. See ’427 patent,

 17:59-67; 8:39-42; Figs 7-8. As discussed in Section V.D.2.[2a], Yang discloses

 bitmaps representing icons, e.g., images 108a-108d, which a POSITA would

 understand are the same as the elements of a graphical content data structure

 disclosed in the ’427 patent. In addition, a POSITA would understand that Yang’s

 bitmaps include pixel color values, and subpixel values which are also elements of

 this graphical content data structure. Wolfe, ¶196. And as discussed in Sections

 V.D.1.[1d], Yang teaches at least two ways for inactive area 112, shown in Fig. 1C

 to transition to a “powered-on state.”

       When Yang’s device is in the state shown in Fig. 1C, in which inactive area

 112 (corresponding to the recited “second portion”) is powered-off, Yang’s device

 selects bitmaps corresponding to icons 108a-108d for display in available display

 area 104c. See, e.g., Yang Fig. 1C. This selection is based in part on the dimensions

 of reduced-size displaying area 104c since that is the only place where information

 can be displayed. Yang explicitly teaches this as it states that “[g]enerally, all or part

 (i.e., an ‘extract’) of the original user interface shown in original size displaying area


                                            67
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 78 of 89 PageID #: 1895

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

 104a may be cut (i.e., extracted) and displayed in reduced size displaying area 104b,

 104c, 104d, or 104e.” See id., ¶21; Wolfe, ¶197.

       Furthermore, as discussed, when inactive area 112 (corresponding to the

 recited “second portion”) is in a powered-off state, reduced-size images

 corresponding to icons 108a-108d are displayed in available display area 104c.

 Wolfe, ¶198. Yang teaches that “the extract of the complete visible interface, should

 be reduced in size such as to reduced size displaying area 104c.” Yang ¶41. Yang

 further explains that “[r]educing techniques may reduce the extract of the interface

 so that it keeps the same proportions while simulated in small scale.” Yang, ¶42. A

 POSITA would understand that the size reduction of the icons taught in Yang can be

 accomplished by selecting a subset of the pixel color values (i.e., elements of the

 graphical content data structure) for display. For example, selecting every other

 pixel color value in each row of a bitmap would display an icon image that is half as

 wide. This common technique would be well known at the time of the Yang

 application and would correspond to Yang’s teaching regarding the size reduction of

 bitmaps. Wolfe, ¶198.

       Thus, Yang discloses this element, and Yang in view of Law renders the claim

 obvious.




                                          68
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 79 of 89 PageID #: 1896

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

              7.    Claim 7

       Claim 7 is an apparatus claims reciting certain structural elements performing

 functions recited as method steps in claim 1. It is obvious for the reasons discussed

 below.

                    [7p] “A multifunction device, comprising:”

       Yang in view of Law discloses a multifunction device, e.g., a smartphone. See,

 e.g., Yang, ¶19; Law ¶¶4, 24. Thus, to the extent the preamble is limiting, it is

 disclosed by Yang in view of Law. Wolfe, ¶201.

                    [7a] “one or more processors;”

       Yang discloses that its device comprises one or more processors. See, for

 example, GPUs, processors, etc., discussed in Yang, ¶¶30, 64-77 and shown in Figs.

 5-7 (e.g., reference numbers 500, 1038, 1070, 1080). The same is true of Law. See,

 e.g., Law, ¶¶27-32 (reference numbers 132, 150, illustrated in Figs. 1-3). Thus, this

 element is disclosed by Yang in view of Law. See Wolfe, ¶202.

                    [7b] “a display screen and associated sensors; and”

       Yang’s portable electronic device, shown in Figs. 1A-1E, has a display screen

 102 and associated touch sensors. Yang, ¶19. Law also discloses a display and

 associated sensors. See Section V.B. Thus, this element is disclosed by Yang in

 view of Law. See Wolfe, ¶203.




                                          69
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 80 of 89 PageID #: 1897

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

                    [7c] “one or more memories storing program instructions
                         executable on the one or more processors to perform:”

       Yang discloses that its device has memory that stores program instructions

 that are executed on its disclosed processors. See, e.g., Yang, ¶65 (memory 570,

 containing instructions 513, shown in Fig. 5); see also ¶¶72, 85. The same is true of

 Law. See, e.g., Law, ¶¶28-29 (elements 140, illustrated in Figs. 1-3). Thus, this

 element is disclosed by Yang in view of Law. See Wolfe, ¶204.

                    [7d] “displaying first information in an available display
                         area comprising a first portion of the display screen in
                         a configuration having a plurality of portions,
                         comprising”

       Yang in view of Law discloses this. See Section V.D.1.[1a]. Wolfe, ¶205.

                    [7e] “the first portion of the display screen and associated
                         sensors, which is configured in a powered-on state to
                         perform display functions and receive user input, and”

       Yang in view of Law discloses this. See Section V.D.1.[1b]. Wolfe, ¶206.

                    [7f]   “a second portion of the display screen and associated
                           sensors, which is configured in a powered-off state and
                           incapable of receiving user input;”

       Yang in view of Law discloses this. See Section V.D.1.[1c]. Wolfe, ¶207.

                    [7g] “responsive to a user indication in the in the first
                         portion, adding the second portion to the available
                         display area by transitioning the second portion to the
                         powered-on state to perform display functions and
                         receive user input;”

       Yang in view of Law discloses this. See Section V.D.1.[1d]. Wolfe, ¶208.


                                          70
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 81 of 89 PageID #: 1898

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

                    [7h] “displaying second information in the second portion;”

       Yang in view of Law discloses this. See Section V.D.1.[1e]. Wolfe, ¶209.

                    [7i]   “program instructions executable on the one or more
                           processors to perform generating the second
                           information by mathematically upscaling the first
                           information,”

       Yang in view of Law discloses the recited functionality.         See Section

 V.D.1.[1f]. Wolfe, ¶ 210. Yang also discloses that these functions are performed by

 executing program instructions that are executable on processors, as discussed

 regarding 7[c]. The same is true of Law. See Law, ¶12, 28-29, 55-57.

                    [7j]   “wherein the second information comprises a portion
                           of the first information upscaled for display in both the
                           second portion and the first portion; and”

       Yang in view of Law discloses this. See Section V.D.1.[1g].

                    [7k] “program instructions executable on the one or more
                         processors to perform displaying third information in
                         the first portion, wherein the third information
                         comprises a portion of the first information upscaled
                         for display in both the second portion and the first
                         portion”

       Yang in view of Law discloses the recited functionality.                 See

 SectionV.D.1.[1h]. Wolfe, ¶213. Yang also discloses that these functions are

 performed by executing program instructions that are executable on processors, as

 discussed regarding 7[c]. The same is true of Law. See Law, ¶12, 28-29, 55-57.




                                         71
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 82 of 89 PageID #: 1899

                                                                      IPR2019-01529
                                                            U.S. Patent No. 8,593,427

              8.     Claims 8-12

        Claims 8-12 are identical to claims 2-6 except that claims 8-12 recite the steps

 recited in claims 2-6 performed via program instructions executable on one or more

 processors. Yang discloses this additional feature. See, e.g., Section V.D.7.[7c].

 Thus, claims 8-12 would have been obvious for the reasons discussed regarding their

 earlier corresponding claims and elements. See Wolfe, ¶215, and:

        Claim                     Unpatentable as discussed regarding:

   8                   Claim 2 (Sections V.D.2.[2a]-V.D.2.[2b])

   9                   Claim 3 (Sections V.D.3.[3a]-V.D.3.[3b])

   10                  Claim 4 (Sections V.D.4.[4a]-V.D.4.[4b])

   11                  Claim 5 (Sections V.D.5.[5a]-V.D.5.[5b])

   12                  Claim 6 (Sections V.D.6.[6a]-V.D.6.[6b])


              9.     Claims 13-17

        Claims 13-17 are identical to claims 1-5 except that claims 13-17 are

 Beauregard claims. Yang discloses program instructions stored on non-transitory,

 computer-readable storage medium as well. See, e.g., Yang, ¶¶77, 85. Thus, claims

 13-17 would have been obvious for the reasons discussed regarding their

 corresponding claims and elements. See Wolfe, ¶216, and:



                                           72
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 83 of 89 PageID #: 1900

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

        Claim                   Unpatentable as discussed regarding:

   13                 Claim 1 (Sections V.D.1.[1p]-V.D.1.[1h])

   14                 Claim 2 (Sections V.D.2.[2a]-V.D.2.[2b])

   15                 Claim 3 (Sections V.D.3.[3a]-V.D.3.[3b])

   16                 Claim 4 (Sections V.D.4.[4a]-V.D.4.[4b])

   17                 Claim 5 (Sections V.D.5.[5a]-V.D.5.[5b])


        E.   Grounds 1B: The Combination of Yang, Law, and Ignatchenko
             Discloses All Elements Of The Challenged Claims

        As discussed regarding Grounds 1A, Yang in view of Law discloses all

 elements of claims 1-17 and renders these claims obvious. These claims are also

 rendered obvious by Yang in view of Law and Ignatchenko. To the extent Dareltech

 argues that the Yang-Law device fails to disclose “generating the second information

 by mathematically upscaling the first information” limitation recited in elements

 [1f], [7i] and 13[f], it would have been obvious to combine the Yang-Law device

 with Ignatchenko to provide such a system. Wolfe, ¶¶217-221.

        Like Yang-Law, Ignatchenko discloses a computing device that displays

 digital images, e.g., bitmaps, on a display screen.         Ignatchenko, 1:12-20.

 Ignatchenko discloses a method for scaling such digital images (Id., 1:7-8), and

 specifically describes how to “[s]cal[e] a first digital image having a plurality of


                                         73
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 84 of 89 PageID #: 1901

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 visual images from a first size to a second size…” Id., 2:6-8. Ignatchenko makes

 clear that its scaling can increase the size of images (Id., 1:44-48), and that such re-

 sizing can involve modifying the resolution of those images. Id., 2:58-60 (“The

 present disclosure provides systems and methods for the modification of the size

 and/or resolution of an image having a plurality of visual elements.”); see also id.,

 1:21-43, 2:58-60; Wolfe, ¶218. Finally, Ignatchenko uses mathematical techniques

 to increase size and resolution. See, e.g., Ignatchenko, 3:61-4:5 (discussing known

 mathematical scaling techniques); and 4:21-44 (specific algorithm for increasing

 size and resolution). See also Figs. 4-5, showing resizing of a first digital image to

 a second digital image. Note that a POSITA would recognize that Ignatchenko’s

 scaling algorithm plainly increases resolution since it “maintains the clarity and

 sharpness of at least some of the elements of the image while maintaining a

 manageable file size of the graphics, and will allow the user to either enlarge or

 reduce the image size.” Id., 1:44-48; Wolfe, ¶218.

       A POSITA would have been motivated to combine Ignatchenko’s scaling

 method with Yang-Law device because it is a simple and convenient method for

 increasing the size of images, e.g., images 108a-108d, in Yang’s reduced-size

 displaying area 104c. Wolfe, ¶219. Likewise, a POSITA would have understood

 that the clarity and sharpness of these images could be maintained as they were

 enlarged, and would have recognized that Ignatchenko’s scaling method could be
                                           74
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 85 of 89 PageID #: 1902

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

 used for this purpose. Id. Just like Yang, Ignatchenko teaches resizing “in response

 to user input based on the user’s preference for the size of the image (e.g., the amount

 of space that the image occupies on a monitor),” (Ignatchenko, 4:13-18) and calls

 out as an example an action analogous to a spreading gesture (clicking and

 dragging). Id., 4:18-20. Thus, a POSITA would have recognized that Ignatchenko’s

 scaling methods would have been one way of many known at that time to

 mathematically upscale the images in Yang’s reduced-size displaying area 104c so

 that the enlarged images maintained their clarity and sharpness. Wolfe, ¶219.

       A POSITA would have had a reasonable expectation of success in using

 Ignatchenko’s scaling methods with Yang’s device since Yang’s device already

 includes memory, processors and a display and other hardware needed to execute

 program instructions implementing Ignatchenko’s mathematical techniques. Id.,

 ¶220. Indeed, Ignatchenko notes that its methods can be used with personal digital

 assistants (Ignatchenko, 7:45-53), which a POSITA would have known are

 multifunction devices like those disclosed and claimed in the patent. Id.

       The remaining claim elements of claims 1-17 are disclosed by Yang in view

 of Law as discussed above for Ground 1A. Accordingly, Yang in view Law and

 Ignatchenko renders this element obvious. Wolfe, ¶¶217-221.




                                           75
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 86 of 89 PageID #: 1903

                                                                         IPR2019-01529
                                                               U.S. Patent No. 8,593,427

 VI.    MANDATORY NOTICES UNDER 37 C.F.R. § 42.8

        A.     Real Party-in-Interest

        Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. are the

 real parties in interest for this petition.

        B.     Related Matters

        Samsung is concurrently requesting inter partes review of U.S. Patent No.

 8,717,328 in IPR2019-01528, and anticipates filing a petition challenging U.S.

 Patent No. 9,075,612. U.S. Patent No. 8,717,328 is a continuation of the ’427 patent.

 U.S. Patent No. 9,075,612 is a continuation in part of U.S. Patent No. 8,717,328 and

 is thus in the same family as the ’427 patent.

        To the best knowledge of Samsung, the ’427 patent is or has been involved in

 the following district court litigations:

                   Name                             No.         Court        Filed
  Dareltech LLC v. Samsung Elecs.              4:18-cv-00702   E.D.Tex    Oct. 4, 2018
  Co., Ltd. and Samsung Electronics
  America, Inc.

        To the best knowledge of Samsung, the ’427 patent has not been challenged

 in any inter partes review prior to this proceeding.

        U.S. Patent No. 8,717,328 issued on May 6, 2014. U.S. Patent No. 9,075,612

 issued on July 7, 2015. U.S. Patent No. 9,360,923 issued on June 7, 2016. U.S.

 Patent Application Serial No. 16/002,854, filed on June 7, 2018, seeks a broadening

                                               76
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 87 of 89 PageID #: 1904

                                                                    IPR2019-01529
                                                          U.S. Patent No. 8,593,427

 reissue of U.S. Patent No. 9,360,923. Each of these patents and applications claim

 priority to the ’427 patent.

       C.     Lead and Backup Counsel

             Lead Counsel                             Back-Up Counsel
  Jeffrey A. Miller (Reg. No. 35,287)   Jennifer A. Sklenar (Reg. No. 40,205)*
  jmillerptab@apks.com                  Jennifer.Sklenar@arnoldporter.com

  Arnold & Porter Kaye Scholer LLP      Arnold & Porter Kaye Scholer LLP
  5 Palo Alto Square, Suite 500         601 Massachusetts Ave., NW
  3000 El Camino Real                   Washington, DC 20001-3743
  Palo Alto, CA 94306                   Tel: 202-942-5000
  Tel: 650-319-4519
                                        *Admitted in NY and CA only; practice
                                        limited to matters before federal courts and
                                        federal agencies


       D.     Service Information

       Please address all correspondence to lead and back-up counsel at the addresses

 shown above. Samsung consents to electronic service by e-mail.

 Date: August 21, 2019                  Respectfully submitted,

                                        /Jeffrey A. Miller/
                                        Jeffrey A. Miller, Lead Counsel
                                        Reg. No. 35,287




                                         77
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 88 of 89 PageID #: 1905

                                                                       IPR2019-01529
                                                             U.S. Patent No. 8,593,427

                      CERTIFICATE OF COMPLIANCE

       The undersigned hereby certifies that the foregoing Petition for Inter Partes

 Review contains 13,922 words, excluding those portions identified in 37 C.F.R. §

 42.24(a), as measured by the word-processing system used to prepare this paper.

                                       /Jeffrey A. Miller/
                                       Jeffrey A. Miller




                                         78
Case 4:18-cv-00702-ALM Document 38-7 Filed 11/04/19 Page 89 of 89 PageID #: 1906

                                                                     IPR2019-01529
                                                           U.S. Patent No. 8,593,427

                          CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing Petition for Inter Partes Review,

 the associated Power of Attorney, and Exhibits 1001-1023 are being served on

 August 21, 2019, by Federal Express at the following address of record for the

 subject patent:

                   MICHAEL BEST & FRIEDRICH LLP (AUS)
                        100 E WISCONSIN AVENUE
                                Suite 3300
                          MILWAUKEE WI 53202

       Courtesy copies of the same documents were served on August 21, 2019, by

 Federal Express at the following address of record for litigation counsel:

                              David Hecht
             PIERCE BAINBRIDGE BECK PRICE & HECHT LLP
                        20 West 23rd St Fifth Floor
                       New York, New York 10010

                                        /Shantell Gutrick/
                                        Shantell Gutrick
                                        Litigation Legal Assistant

                                        ARNOLD & PORTER KAYE SCHOLER,
                                        L.L.P.




                                          79
